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                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT

         MARYLAND SHALL ISSUE,                      )
         INC., et al.,                              )
                                                    )
                  Plaintiffs,                       )
                                                    )        No. 23-1719
                  v.                                )
                                                    )
         MONTGOMERY              COUNTY,            )
         MD,                                        )

                  Defendant.

                          PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
                             DEFENDANT’S MOTION TO STRIKE

              Pursuant to Rule 27 of the Federal Rules of Appellate Procedure, plaintiffs

        respectfully submit this Memorandum in opposition to appellee’s motion to strike,

        filed on July 24, 2023 by the appellee, Montgomery County, Maryland (“the

        County”). For the reasons set forth below, the County’s motion to strike should be

        denied.

                                             ARGUMENT

              The County asks this Court to strike the supposedly “improper factual

        allegations and exhibits” in the Declaration of Daniel Carlin-Weber, and the Second

        Supplemental Declaration of Allan Barall (collectively, “the Declarations”) that

        accompanied plaintiffs-appellants’ Emergency Motion for a Rule 8 Injunction

        Pending Appeal. The County’s motion is based on a fundamental misunderstanding

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        of the mechanics and law associated with a Rule 8 motion and a gross

        mischaracterization of these Declarations. The County’s motion should be denied.

           A. Appellee Misstates the Standard Applicable to Rule 8 Motions

              In its motion to strike, the County cites Aggarao v. MOL Ship Mgmt. Co., Ltd.,

        675 F.3d 355, 366 (4th Cir. 2012), arguing that an abuse of discretion standard is

        somehow relevant to the motion at bar. (Co.Mot. at 3) Aggarao dealt with an appeal

        from a final order dismissing the case for improper venue, not a Rule 8 motion. Id.

        at 365. In contrast, a Rule 8 motion is addressed to this Court’s equitable discretion.

        P. Motion at 9. As stated in Priorities USA v. Nessel, 978 F.3d 976, 982 (6th Cir.

        2020), “[w]e consider the [Rule 8] motion de novo because ‘we are not reviewing

        any district court decision or order.’” (Citation omitted). The Court may, of course,

        consider that the underlying appeal is from a denial of a preliminary injunction, Does

        1-3 v. Mills, 39 F.4th 20, 24 (1st Cir. 2022), but that does not change the de novo

        standard or preclude new evidence on the motion. Id. Indeed, Rule 8(a)(2)(B)

        requires that “[t]he motion must also include (ii) originals or copies of affidavits or

        other sworn statements supporting facts subject to dispute; and (iii) relevant parts of

        the record.” (Emphasis added). That text of Rule 8 makes clear that the “supporting”

        material for the motion is not limited to “relevant parts of the record.”

              The County relies heavily on dmarcian, Inc. v. dmarcian Eur. BV, 2021 WL

        3561182 (W.D.N.C. 2021) for support of its contention that plaintiffs are attempting

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        to “backfill” the appellate record. But the district court there mistakenly thought

        Rule 8 evidence was barred in district court where a notice of appeal had been filed.

        Slip op. at *3. Indeed, the court’s holding that it lacked jurisdiction once a notice of

        appeal was filed is at odds with the court’s further holding that it would consider

        new evidence if “it was not available to the parties for presentation … at the time of

        the preliminary injunction hearing.” Id. Unlike dmarcian, plaintiffs here are not

        before the district court on a motion to stay pending appeal. We are before this Court,

        which is “not reviewing any district court decision or order” when it considers a Rule

        8 motion. A. Philip Randolph Inst. v. Husted, 907 F.3d 913, 917 (6th Cir. 2018).

              Defendant’s suggestion that an appellant is foreclosed from submitting any

        new evidence with a Rule 8 motion is not just inconsistent with the text of the rule,

        but also logically inconsistent with the posture and purpose of a Rule 8 motion. A

        Rule 8 motion for injunction pending appeal invokes this Court’s equitable

        discretion and seeks emergency relief while the underlying district court order is on

        appeal. Such a motion does not ask this Court to review whether the underlying order

        from which the appeal taken is correct, it asks this Court to consider whether

        equitable relief is appropriate while the appeal is pending. As the case law discussed

        above makes clear, the two points are analytically distinct. That is why a Rule 8

        motion filed with this Court is considered de novo and that is why the party moving

        for Rule 8 relief is not limited to the record below.

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              The County contends that plaintiffs could have submitted the Declarations

        with plaintiffs’ emergency motion for a TRO and a preliminary injunction filed

        December 6, 2022. But the County’s motion to strike, perhaps unintentionally,

        makes it clear why the material in the Declarations was unavailable at that time: it

        was hard to do, and time was short on an emergency motion. Co. Motion at 5 (“It is

        not surprising that Carlin-Weber required assistance from others to research and

        draft his 32-page report.”). Plaintiffs simply did not have the resources or the time

        to investigate the techniques publicly available to produce such a declaration at the

        time the motion for emergency relief was filed. MSI is an “all-volunteer,” non-profit

        organization. Its leadership has “day jobs” as do the individual plaintiffs. That

        plaintiffs have been able to marshal the necessary resources subsequently is no

        reason to exclude the results on a Rule 8 motion where such materials are expressly

        contemplated by the Rule and permitted by the case law.

              The provision of new materials and refined argument under circumstances

        that necessitate a Rule 8 motion is an unavoidable practical reality obviously

        contemplated by the Rule itself. For example, in Mock v. Garland, 2023 WL

        2711630 (N.D. Texas March 31, 2023), the district court, like the district court in

        this case, misapplied Bruen and denied a motion for a preliminary injunction. On

        appeal, the plaintiffs in Mock moved for—and were granted—an emergency

        injunction pending appeal. Mock v. Garland, No. 23-10319, Dkt #52-2 (5th Cir. May

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        23, 2023). The Rule 8 motion in Mock was supported by arguments and assertions

        that relied on specific facts that were “subject to dispute” within the meaning of Rule

        8. See id., Dkt # 25-1.

               In this case, the Carlin-Weber Declaration is hardly even “subject to dispute”

        as it reflects an indisputable reality that Bill 21-22E creates thousands of 100-yard

        exclusionary zones and that those zones effectively prevent a permit holder from

        carrying in and through the County. Indeed, the County has never seriously disputed

        that point and does not dispute it in its motion to strike. As noted in plaintiffs’ motion

        (P.Motion at 10), the County itself states that Bill 21-22E creates 100-yard

        exclusionary zones as to over a thousand childcare facilities in the County and that

        is just one type of location covered by Bill 21-22E. The amount of acreage covered

        by the ban on carry within 100 yards of a childcare facility pales in comparison to

        the acreage covered by the County’s bans on carry within 100 yards of all public

        park lands, not to mention all the rest of the places included as “places of public

        assembly” defined by Section 57-1 of the Chapter 57 of the County Code. All the

        Carlin-Weber Declaration really does is create graphic images of that reality to

        illustrate the point.

           B. The Carlin-Weber Declaration

               The County takes great issue with the Carlin-Weber Declaration, to wit, the

        County decries it as “the most egregious example of Plaintiffs’ attempt to offer

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        supplemental evidence.” (Co.Mot. at 5). As plaintiffs have demonstrated, new

        evidence—specifically declarations—is contemplated by Rule 8. While the County

        expresses umbrage at the length of the Declaration, it points to no rule that the

        Declaration violates.

              Most curiously, the County speaks from both sides of its mouth when it

        complains about the purported expert nature of the Carlin-Weber Declaration. In one

        sentence, it argues that “[t]he Methodology Section of [the] Declaration is five pages

        long”, and then, in another sentence, the County asserts that the Declaration contains

        “conclusory and unvetted scientific and legal opinions.” (Co.Mot. at 5-6). Yet, the

        methodology was purposefully laid out in the Declaration in such detail so that any

        reasonably capable person with a modicum of computer experience could duplicate

        those steps and come to the same result: a map showing the areas where the County

        criminalizes carry.

              The Declaration creates maps generated solely from identified publicly

        available data used by the State and the public alike every day, something the County

        can easily verify if it wanted to. The County does not assert that it is unable to take

        these steps or that the required minimal ability is somehow beyond the grasp of a

        unit of local government that has a 6.3-billion-dollar budget for fiscal 2023. See

        https://moco360.media/2022/05/26/county-council-approves-6-3-billion-operating-



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        budget/. The Declaration gives the County a detailed methodological road map, but

        the County has not even tried to follow it.

              The County asserts that Mr. Carlin-Weber must be viewed as an expert, but

        any reasonably computer-literate layperson can perform the tasks set forth in the

        Declaration if they take the time. Doing so does not take “scientific, technical or

        other specialized knowledge” of the type covered by Rule 702(a), Federal Rules of

        Evidence. The Declaration sets forth facts, not opinions (expert or otherwise). The

        County cannot be taken seriously when it professes not to understand what the term

        “queries” means. Co.Mot. at 5. But to be clear, a “query” is a simple request for

        information from a database, as any dictionary would inform the County and as the

        term is obviously used in context by the Declaration. A person need not be an expert

        to perform a query. Every user of PACER, Westlaw or LEXIS poses a “query” when

        that user performs a search on a legal database.

              But even assuming arguendo that Mr. Carlin-Weber is an “expert” of sorts

        (he is undoubtedly computer-literate), the County does not fault any aspect of the

        methodology employed in the Declaration. Under Daubert, a court acts as a

        gatekeeper but in performing that role, “the focus, of course, must be solely on

        principles and methodology, not on the conclusions that they generate.” Daubert v.

        Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 595 (1993). Thus, “[t]o determine

        whether an opinion of an expert witness satisfies Daubert scrutiny, courts may not

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        evaluate the expert witness’ conclusion itself, but only the opinion’s underlying

        methodology.” Bresler v. Wilmington Trust Co., 855 F.3d 178, 195 (4th Cir. 2017).

        The County understandably does not like Mr. Carlin-Weber’s conclusions, but it has

        not challenged his methodology and thus has forfeited any such challenge.

              Indeed, the County does not seriously question the results and conclusion

        reached in the Declaration, complaining only that the maps do not consider that

        possession and carry is allowed by the County’s law in the home and, much more

        limitedly, in businesses under the exceptions for these locations set forth in Section

        57-11(b). Co.Mot. at 7. That objection misses the point because even if one takes

        those sites into account, it will not affect the scope or reach of the thousands of 100-

        yard exclusionary zones created by Bill 21-22E. It would, at most, merely create

        small holes in the 100-yard circles of prohibited zones. As plaintiffs explain in the

        motion, the homes of several of the plaintiffs fall within one or more of these

        exclusionary zones and thus these plaintiffs are effectively barred from using their

        permits to step outside their homes while armed. P.Motion at 11-12. The County

        does not dispute that such carry outside the home by these plaintiffs would otherwise

        be perfectly permissible under State law.

              The Declaration, its maps, and references, are exemplary and do not contain

        an iota of legal argument. The County cannot defend a strict liability law that

        provides it with the means to criminally charge permit holders for straying into a

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        100-yard exclusionary zone and, at the same time, object to maps that detail the all-

        encompassing and legally absurd scope of such zones. The only “legal conclusion”

        the County points to is Mr. Carin-Weber’s observation of how much of the County’s

        surface area is covered by the areas proscribed by Bill 21-22E. That conclusion is

        not legal, it is mathematical. The County is presumably perfectly capable of doing

        the math if it so chooses. The Carlin-Weber Declaration merely identifies the

        locations of the myriad buildings, grounds, and exclusionary zones in which carry is

        banned by the law here at issue.

              The County further ignores the context of the Carlin-Weber Declaration,

        which is a Second Amendment complaint that focuses on the “the general right to

        publicly carry arms for self-defense” as recognized in NYSRPA v. Bruen, 142 S.Ct.

        2111, 2134 (2022). The County’s argument that an individual can “transport the

        weapon in a locked case, separate from its ammunition” (Co.Mot. at 7), is nothing

        but a concession that it is effectively impossible, under the County’s law, for a permit

        holder to legally travel through or in the County and carry a loaded firearm for armed

        self-defense. That reality extinguishes the constitutional right recognized in Bruen.

        Full stop. That result is no accident. See P.Motion at 4. The County does not dispute

        that Bill 21-22E was passed for the express and singular purpose of restricting the

        “general right” sustained in Bruen.



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              The threat of criminal liability under Chapter 57 is akin to the proverbial

        “Sword of Damocles” in that it hangs over the heads of plaintiffs and MSI members

        who live throughout the State, creating a continuing in terrorem effect. See United

        States v. Bilodeau, 24 F.4th 705, 713-14 (1st Cir. 2022) (likening the possibility of

        prosecution to the Sword of Damocles and rejecting the government’s reliance on

        prosecutorial discretion). No permit holder in the State is safe from Chapter 57

        unless they forgo their constitutional right of armed self-defense or stay completely

        outside of the County. The latter option is not available to the named individual

        plaintiffs who reside or work in the County. Permit holders residing elsewhere in the

        State (including many MSI members) may not constitutionally be banned from

        exercising their Second Amendment rights in the County.

           C. The Allan Barall Declaration

              The County’s motion to strike the Second Supplemental Declaration of Allan

        D. Barall is likewise dependent on dmarcain’s mistaken analysis. As articulated

        supra, there is no “back-filling” attendant to new evidence on a Rule 8 motion.

        Particularly baseless is the County’s suggestion that “Mr. Barrall’s use[d] Google

        Maps to render legal conclusions about the County Firearms Law.” Id. Using a

        Google Maps tool to measure a 100-yard boundary around a synagogue is easily

        done by any layperson who need only navigate to Google Maps in any web browser

        and “right-click” on any location on the screen to access the measurement tool. The

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        actual measurement is not a legal conclusion. The County does not dispute that the

        synagogues identified by Mr. Barall are “places of worship” subject to the County’s

        bans and that they exist at those locations. The County does not assert that Mr. Barall

        somehow has misused the Google Maps measurement tool or measured the distance

        mistakenly.

           D. Defendant’s Jurisdictional Arguments Are Without Merit

              Defendant, again relying on dmarcian’s erroneous jurisdictional holding,

        argues that jurisdiction “generally passes to the appellate court after an appeal has

        been taken, and arguments that were not advanced or properly preserved in the

        district court are typically considered to have been waived on appeal.” Co.Mot. at 4

        (citing Rosenzweig v. Azurix Corp., 332 F.3d 854, 863-64 (5th Cir. 2003) (emphasis

        added). That rule might have some purchase if the plaintiffs’ Rule 8 motion actually

        sought review of a district court order but as explained above, it does not. A. Philip

        Randolph Inst., 907 F.3d at 917. Moreover, and in any event, plaintiffs’ Rule 8

        motion does not advance a single new argument. Nor has the County identified any

        such argument. Plaintiffs have consistently alleged and argued that the County’s law

        effectively has banned carry because of the scope of the 100-yard exclusionary zones

        it creates, a point the County does not dispute. See Reply in Support of Plaintiffs

        Motion, filed herewith.



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               Finally, the County oddly argues that “[n]one of Plaintiffs’ ‘new’ factual

        allegations contain any ‘new’ information” (Co.Mot. at 3), but as the County’s fury

        and embarrassment demonstrates, that is obviously wrong. The Carlin-Weber

        Declaration presents new “information” in the form of graphics and written factual

        descriptions of geographic features of the County that make clear the extreme effect

        the County’s law has on the right to carry recognized in Bruen. The Barall

        Declaration adds new information on how the County’s law affects this individual

        MSI member. It is all relevant and material to the Rule 8 motion. No more is

        required.

                                         CONCLUSION

              For the aforementioned reasons, the County’s motion to strike should be

        denied in its entirety.

                                                     /s/ Mark W. Pennak
                                                     __________________________
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                                                     /s/ Matthew Larosiere
                                                     __________________________

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              Dated: July 26, 2023

        *Application for admission to this circuit forthcoming.




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                                CERTIFICATE OF COMPLIANCE

              Pursuant to Rule 27(d) and Rule 32(g)(1) of the Federal Rules of Appellate

        Procedure, the undersigned counsel here certifies that the forgoing Memorandum in

        Opposition to Defendant’s Motion to Strike contains 2,728 words, not counting

        those items which may be excluded under Rule 32(f), and uses a 14 point, Times

        New Roman proportional font.


                                             /s/ Mark W. Pennak

                                             Mark W. Pennak,
                                             Counsel for Plaintiffs-Appellants




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                                 CERTIFICATE OF SERVICE

              The undersigned counsel hereby certifies that on July 26, 2023, the forgoing

        “Memorandum in Opposition to Defendant’s Motion to Strike” were served on

        opposing counsel listed below via ECF service:


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        __________________________
        MARK W. PENNAK
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        Dated: July 26, 2023




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